     Case: 1:20-cv-05666 Document #: 63 Filed: 01/19/22 Page 1 of 1 PageID #:203

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Shanece Williams
                                         Plaintiff,
v.                                                       Case No.: 1:20−cv−05666
                                                         Honorable Ronald A. Guzman
Chicago Board Of Education, et al.
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 19, 2022:


         MINUTE entry before the Honorable Ronald A. Guzman: Telephonic motion
hearing held on 1/19/2022 regarding defendant Chicago Board of Education's motion for
leave to file amended affirmative defenses [61]. The defendant Board of Education of the
City of Chicago is directed to file by 2/3/2022 a brief statement describing the elements of
each of its proposed affirmative defenses and what specific evidence it intends to present
to prove each of those elements. The statement should also explain why plaintiff would
not be required to conduct new discovery in order to prepare to rebut such evidence. After
its review of defendant's submission, the Court will determine if plaintiff will be required
to file a response. Mailed notice. (kp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
